                               Exhibit 1




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 Instructions for Proof of Claim (Fire Claim Related)
 United States Bankruptcy Court


 You may have a claim against the Debtors for monetary loss, personal injury (including death), or other asserted damages arising
 out of or related to a fire. You should consider obtaining the advice of an attorney, especially if you are unfamiliar with the chapter
 11 process and privacy regulations.


   A person who files a fraudulent claim could be fined up
   to $500,000, imprisoned for up to 5 years, or both.
   18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form

  Fill in all of the information about the claim as of the                 Question 9. If you suffered property damage, then provide
    date this claim form is filed.                                             the street address of each real property parcel where you
  If the claim has been acquired from someone else,                           suffered property damage. If you were personally
    then state the identity of the last party who owned the                    evacuated as the result of a fire, then provide the address
    claim or was the holder of the claim and who transferred it                or intersection closest to where you encountered the fire
    to you before the initial claim was filed.                                 and began evacuation. If you suffered property damage
  For a minor child, fill in only the child’s initials and                    and were evacuated from a different location, include both.
    the full name of the child’s parent or guardian. For                       If you were a renter, provide the address of your residence.
    example, write A.B., a minor child (John Doe, parent).                  Question 10. This question requests general statements of
    See Bankruptcy Rule 9037.                                                  underlying facts relating to harm and is not intended to be
  You may but are not required to attach supporting                           exhaustive or preclusive.
    documents to this form.                                                 Question 11. You are not required to include a claim
    Supporting documents will be gathered, maintained, and                     amount with your proof of claim. Providing a claim
    provided at a later date as instructed by the Court. If you do             amount at this time is optional.
    attach documents, you should attach redacted documents as
    supporting documentation will be made publicly available
                                                                           Confirmation that the claim has been filed
    and will not be kept confidential. See the definition of
                                                                           To receive confirmation that the claim has been filed, enclose
    redaction of information below.
                                                                           a stamped self-addressed envelope and a copy of this form
  Do not attach original documents because                                together with the original. You may view a list of filed claims
    attachments may be destroyed after scanning.                           in this case by visiting the Claims and Noticing Agent's
  Question 3. Members of a family may but are not                         website at
    required to file a proof of claim as a family but may, if              https://restructuring.primeclerk.com/pge.
    they choose, submit individual claim forms for each
    family member that has a claim against the debtors.




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Understand the terms used in this form                                      Please send completed Proof(s) of Claim to:

Claim: A creditor’s right to receive payment for a debt that the            If by first class mail:
debtor owed on the date the debtor filed for bankruptcy. 11                 PG&E Corporation Claims Processing Center
U.S.C. §101 (5). A claim may be secured or unsecured.                       c/o Prime Clerk LLC
                                                                            Grand Central Station, PO Box 4850
Creditor: A person, corporation, or other entity to whom a
                                                                            New York, NY 10163-4850
debtor owes a debt that was incurred on or before the date the              If by overnight courier or hand delivery:
debtor filed for bankruptcy. 11 U.S.C. § 101 (10).                          PG&E Corporation Claims Processing Center
                                                                            c/o Prime Clerk LLC
Debtor: A person, corporation, or other entity who is in                    850 Third Avenue, Suite 412
bankruptcy. In this instance, PG&E Corporation and Pacific Gas              Brooklyn, NY 11232
& Electric Company.
                                                                            You may also hand deliver your completed Proof(s) of
Information that is entitled to privacy: A Proof of Claim form              Claim to any of the following service center offices
and any attached documents must show only the last 4 digits of              (beginning July 15, 2019 through the Bar Date (October 21,
any social security number, an individual’s tax identification              2019) during the hours of 8:30 a m. – 5:00 p.m. Prevailing
number, or a financial account number, only the initials of a               Pacific Time):
minor’s name, and only the year of any person’s date of birth. If
                                                                            Chico Service Center
a claim is based on delivering health care goods or services, limit
                                                                            350 Salem Street
the disclosure of the goods or services to avoid embarrassment or
                                                                            Chico, CA 95928
disclosure of confidential health care information. You may later
be required to give more information if the trustee or someone              Marysville Service Center
else in interest objects to the claim.                                      231 “D” Street
                                                                            Marysville, CA 95901
Proof of claim: A form that shows the creditor has a claim
against the debtors on or before the date of the bankruptcy filing          Napa Service Center
(in these cases, January 29, 2019). The form must be filed in the           1850 Soscol Ave. Ste 105
district where the case is pending.                                         Napa, CA 94559

                                                                            Oroville Service Center
Redaction of information: Masking, editing out, or deleting
                                                                            1567 Huntoon Street
certain information to protect privacy. Filers must redact or leave
                                                                            Oroville, CA 95965
out information entitled to privacy on the Proof of Claim form
and any attached documents.                                                 Redding Service Center
                                                                            3600 Meadow View Road
Offers to purchase a claim                                                  Redding, CA 96002
Certain entities purchase claims for an amount that is less than            Santa Rosa Service Center
the face value of the claims. These entities may contact                    111 Stony Circle
creditors offering to purchase their claims. Some written                   Santa Rosa, CA 95401
communications from these entities may easily be confused
with official court documentation or communications from the                Photocopy machines will not be available at the Claim
debtor. These entities do not represent the bankruptcy court, the           Service Centers; you must bring a photocopy of your Proof
                                                                            of Claim if you wish to receive a date-stamped copy.
bankruptcy trustee, or the debtor. A creditor has no obligation
to sell its claim. However, if a creditor decides to sell its claim,
any transfer of that claim is subject to Bankruptcy Rule
3001(e), any provisions of the Bankruptcy Code (11 U.S.C. §
                                                                          Do not file these instructions with your form
101 et seq.) that apply, and any orders of the bankruptcy court
that apply.




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